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                      UNITED STATES DISTRICT COURT                          DATE FILED: 11/21/2022
                    SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
PLUMBERS & PIPEFITTERS NATIONAL
PENSION FUND, and JUAN FRANCISCO
NIEVES, as Trustee of the Gonzalez Coronado
Trust, Individually and on Behalf of All Others
Similarly Situated,

                     Plaintiff,
                                                             Case No.: 1:16-cv-3591-GHW
        vs.

KEVIN DAVIS and AMIR ROSENTHAL,

                 Defendants.
--------------------------------------                X


                              ORDER AND FINAL JUDGMENT

       WHEREAS, this matter came before the Court for hearing on November 18, 2022 (the

 “Final Approval Hearing”), on the unopposed application of United Association National Pension

 Fund, f/k/a Plumbers & Pipefitters National Pension Fund (“UANPF” or “Lead Plaintiff”), to

 determine (i) whether the terms and conditions of the Stipulation and Agreement of Settlement,

 dated December 1, 2021 (the “Stipulation” and the “Settlement,” respectively) and the proposed

 Settlement embodied therein, are fair, reasonable, and adequate and should be approved by the

 Court; and (ii) whether a Judgment providing, among other things, for the dismissal with prejudice

 of this Action against Defendants as provided for in the Stipulation, should be entered; and

       WHEREAS, the Court, in its Order dated July 14, 2022 (the “Preliminary Approval

Order”) directed that the Notice of Proposed Settlement (the “Notice”) and a Proof of Claim Form,

substantially in the forms attached as Exhibits A-1 and A-3 to the Preliminary Approval Order, be
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mailed by first-class mail, postage pre-paid, within twenty-one (21) days following entry of the

Preliminary Approval Order (the “Notice Date”) to all putative Settlement Class Members who

could be identified through reasonable effort, and that the Summary Notice of Pendency of Class

Action and Proposed Settlement (the “Summary Notice”), substantially in the form attached to the

Preliminary Approval Order as Exhibit A-2, be published in Investors’ Business Daily and on PR

Newswire as of fourteen (14) days after the Notice Date; and that the Settlement, Notice, and Proof

of Claim Form be posted to a website dedicated to the administration of the Settlement on or before

the Notice Date; and

       WHEREAS, the Notice and the Summary Notice advised Class Members of the date, time,

place and purpose of the Final Approval Hearing, and further advised that any objections to the

Settlement were required to be filed with the Court and served on counsel for the Settling Parties

by October 28, 2022; and

       WHEREAS, the provisions of the Preliminary Approval Order as to notice were complied

with; and

       WHEREAS, on October 14, 2022, Lead Plaintiff filed an unopposed motion for final

approval of the Settlement, as set forth in the Preliminary Approval Order; and

       WHEREAS, the Final Approval Hearing was duly held before this Court on November 18,

2022, at which time all interested persons were afforded the opportunity to be heard; and

       WHEREAS, this Court has considered all matters submitted to it at the Final Approval

Hearing and all papers filed and proceedings had herein and otherwise being fully informed in the

premises and good cause appearing therefor;

       NOW THEREFORE, IT IS HEREBY ORDERED:



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        1.      This Judgment hereby incorporates by reference the definitions in the Stipulation,

and all capitalized terms, unless otherwise defined herein, shall have the same meanings as set

forth in the Stipulation.

        2.      This Court has jurisdiction over the subject matter of the Action and over all parties

to the Action, including all Settlement Class Members and the Claims Administrator.

        3.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure and for purposes of

settlement only, this Court finally certifies this Action as a class action with the Settlement Class

defined as: all persons and entities that purchased or acquired the common stock of Performance

Sports Group Ltd. (“PSG” or the “Company”) on a U.S. stock exchange from January 15, 2015

through October 28, 2016, inclusive (the “Class Period”), so long as they also purchased at least

one share of PSG common stock on a U.S. stock exchange from January 15, 2015 through March

14, 2016, inclusive, and were damaged thereby. Excluded from the Settlement Class are: (1)

Defendants; (2) the officers and directors of the Company during the Class Period; (3) members

of their immediate families; (4) their legal representatives, heirs, successors or assigns; (5) and

any entity in which Defendants or PSG have or had a controlling interest. Also excluded from the

Settlement Class are any putative Settlement Class Members who exclude themselves by filing a

request for exclusion in accordance with the requirements set forth in the Notice of Pendency of

Class Action and Proposed Settlement.

        4.      With respect to the Settlement Class, the Court finds and concludes, for purposes

of settlement only, that the prerequisites for class certification under Rule 23(a) and Rule 23(b)(3)

of the Federal Rules of Civil Procedure have been satisfied, in that: (a) the number of Settlement

Class Members is so numerous that joinder of all Settlement Class Members is impracticable; (b)

there are questions of law and fact common to the Settlement Class Members; (c) Lead Plaintiff’s
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claims are typical of the Settlement Class’s claims; (d) Lead Plaintiff and Lead Counsel have and

will fairly and adequately represent and protect the interests of the Settlement Class; (e) the

questions of law and fact common to the Settlement Class Members predominate over any

individual questions; and (f) a class action is superior to other available methods for the fair and

efficient adjudication of the controversy.

        5.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for purposes of

settlement only, the Court hereby affirms its determinations in the Preliminary Approval Order

and finally appoints Lead Plaintiff as class representative for the Settlement Class, and finally

appoints Cohen Milstein Sellers & Toll PLLC, previously appointed as Lead Counsel, as counsel

for the Settlement Class.

        6.      The notice of the pendency of the Action as a class action and of the proposed

Settlement, including the Notice and Summary Notice, was given to all Settlement Class Members

who could be identified with reasonable effort, consistent with the terms of the Preliminary

Approval Order. The form and method of notifying the Class of the pendency of the Action as a

class action and of the terms and conditions of the proposed Settlement met the requirements of

Rule 23 of the Federal Rules of Civil Procedure; Section 21D(a)(7) of the Securities Exchange

Act of 1934, 15 U.S.C. § 78u-4(a)(7), as amended by the Private Securities Litigation Reform Act

of 1995 and the Constitution of the United States (including the Due Process clause).

Such notice constituted the best notice practicable under the circumstances and constituted due

and sufficient notice to all persons and entities entitled thereto.

        7.      Pursuant to and in compliance with Rule 23 of the Federal Rules of Civil

Procedure, the Court hereby finds that due and adequate notice of these proceedings was directed

to all persons and entities who are Settlement Class Members, advising them of their right to seek
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to exclude themselves from the Settlement Class, of the Settlement and of their right to object

thereto, and a full and fair opportunity was accorded to all persons and entities who are Settlement

Class Members to be heard with respect to the Settlement. Thus, it is hereby determined that all

Settlement Class Members who did not timely and properly elect to exclude themselves from the

Settlement Class by written communication postmarked or otherwise delivered on or before the

date set forth in the Preliminary Approval Order, the Notice and Summary Notice are bound by

this Judgment. Those persons and entities who timely and properly requested to be excluded from

the Settlement Class are set forth on Exhibit 1 annexed hereto.

       8.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, this Court finds that

the Settlement, as embodied in the Stipulation, is fair, reasonable and adequate, and in the best

interests of the Settlement Class Members, including Lead Plaintiff. This Court further finds that

the Stipulation, and the Settlement embodied therein, is the result of arms’ length negotiations

between experienced counsel representing the interests of the Settling Parties and that it was

negotiated with the assistance of an experienced mediator. Accordingly, the Settlement as

embodied in the Stipulation is hereby approved in all respects and shall be consummated in

accordance with the terms and provisions of the Stipulation.

       9.      The Court finds and concludes that the Settling Parties and their respective counsel

have complied in all respects with the requirements of Rule 11 of the Federal Rules of Civil

Procedure in connection with the commencement, maintenance, prosecution, defense and

settlement of the Action.

       10.     The Court hereby finally approves the Settlement Fund as a Qualified Settlement

Fund within the meaning of § 468B of the Internal Revenue Code of 1986, as amended, and

Treasury Regulation § 1.468B-1.
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       11.     The Action and all claims asserted therein are dismissed with prejudice. The

Settling Parties are to bear their own costs, except for the payments expressly provided for in the

Stipulation.

       12.     Upon the Effective Date, Lead Plaintiff and each Settlement Class Member, on

behalf of themselves, their heirs, executors, administrators, predecessors, successors and assigns,

and any other person claiming by, through or on behalf of them, shall be deemed by operation of

law to (a) have released, waived, discharged and dismissed each and every of the Released Claims

against the Released Defendants; (b) forever be enjoined from commencing, instituting or

prosecuting any or all of the Released Claims against any of the Released Defendants; and (c)

forever be enjoined from instituting, continuing, maintaining or asserting, either directly or

indirectly, whether in the United States or elsewhere, on their own behalf or on behalf of any class

or any other person, any action, suit, cause of action, claim or demand against any person or entity

who may claim any form of contribution or indemnity from any of the Released Defendants in

respect of any Released Claim or any matter related thereto.

       13.     Upon the Effective Date, each of the Defendants, on behalf of themselves, their

heirs, executors, administrators, predecessors, successors and assigns, and any other person

claiming by, through or on behalf of them, shall be deemed by operation of law to (a) have

released, waived, discharged and dismissed each and every of the Released Defendants’ Claims

against the Released Plaintiffs; (b) forever be enjoined from commencing, instituting or

prosecuting any or all of the Released Defendants’ Claims against any of the Released Plaintiffs;

and (c) forever be enjoined from instituting, continuing, maintaining or asserting, either directly

or indirectly, whether in the United States or elsewhere, on their own behalf or on behalf of any

class or any other person, any action, suit, cause of action, claim or demand against any person or
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entity who may claim any form of contribution or indemnity from any of the Released Plaintiffs

in respect of any Released Defendants’ Claim or any matter related thereto.

       14.    Notwithstanding any of the releases above, nothing in this Judgment shall bar any

action by any of the Settling Parties to enforce or effectuate the terms of the Settlement, the

Preliminary Approval Order, or this Judgment.

       15.    The fact and terms of the Settlement, including the exhibits thereto, this Judgment,

all negotiations, discussions, drafts and proceedings in connection with the Settlement, and any

act performed or document signed in connection with the Settlement:

              a.      shall not be offered or received against the Released Defendants, Lead

       Plaintiff or the other Settlement Class Members as evidence of, or be deemed to be

       evidence of, any presumption, concession or admission by any of the Released Defendants

       or by Lead Plaintiff or the other Settlement Class Members with respect to the truth of any

       fact alleged by Lead Plaintiff or the validity, or lack thereof, of any claim that has been or

       could have been asserted in the Action or in any litigation, or the deficiency of any defense

       that has been or could have been asserted in the Action or in any litigation, or of any

       liability, negligence, fault or wrongdoing of the Released Defendants;

              b.      shall not be offered or received against the Released Defendants as evidence

       of a presumption, concession or admission of any fault, misrepresentation or omission with

       respect to any statement or written document approved or made by any Released

       Defendant, or against Lead Plaintiff or any of the other Settlement Class Members as

       evidence of any infirmity in the claims of Lead Plaintiff or the other Settlement Class

       Members;



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               c.      shall not be offered or received against the Released Defendants, Lead

       Plaintiff or the other Settlement Class Members as evidence of a presumption, concession

       or admission with respect to any liability, negligence, fault or wrongdoing, or in any way

       referred to for any other reason as against any of the foregoing parties, in any arbitration

       proceeding or other civil, criminal or administrative action or proceeding, other than such

       proceedings as may be necessary to effectuate the provisions of the Settlement; provided,

       however, that if the Settlement is approved by the Court, the Released Defendants may

       refer to the Stipulation and the Settlement embodied therein to effectuate the protection

       from liability granted them thereunder;

               d.      shall not be construed against the Released Defendants, Defendants’

       Counsel, Lead Counsel or Lead Plaintiff or the other Settlement Class Members as an

       admission or concession that the consideration to be paid hereunder represents the amount

       which could be or would have been recovered after trial; and

               e.      shall not be construed as or received in evidence as an admission,

       concession or presumption against Lead Plaintiff or the other Settlement Class Members

       or any of them that any of their claims are without merit or that damages recoverable under

       the Complaint would not have exceeded the Settlement Amount.

       16.     No Class Member shall have any claim against Lead Plaintiff, Lead Counsel, or

against any of the Released Defendants or Defendants’ Counsel based on the investments, costs,

expenses, administration, allocations, payments, and distributions that are made substantially in

accordance with the Stipulation, the Plan of Allocation approved by the Court, this Judgment or

further order of the Court.



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        17.    The Court finds that Released Defendants have satisfied their financial obligations

under the Stipulation by paying or causing to be paid the Settlement Amount to the Settlement

Fund, in accordance with paragraph 2 of the Stipulation, and shall have no other obligation to

make or cause to be made any payment to, or delivery of any thing of value to, the Settlement

Fund.

        18.    The Court reserves jurisdiction, without affecting in any way the finality of this

Judgment, over: (a) implementation and enforcement of the Settlement embodied in the

Stipulation; (b) the allowance, disallowance or adjustment of any Settlement Class Member’s

Claim on equitable grounds and any award or distribution of the Settlement Fund and/or Net

Settlement Fund, including entry of a Class Distribution Order; (c) disposition of the Settlement

Fund; (d) hearing and determining Lead Counsel’s application for attorneys’ fees and

reimbursement of the Litigation Expenses incurred by Lead Counsel; (e) enforcing and

administering this Judgment, including the releases entered herein; (f) enforcing and

administering the Settlement; and (g) any other matters related or ancillary to the foregoing.

        19.    A separate order has been proposed regarding Lead Counsel’s application for an

award of attorneys’ fees and reimbursement of Lead Counsel’s Expenses. In addition, it is

anticipated that separate Class Distribution Order(s) will be proposed for consideration by the

Court. Such orders, if entered, shall not disturb or affect any of the terms of this Judgment and

any appeal of or challenge to any such orders, or reversal or modification thereof, shall in no way

disturb or affect the finality of the provisions of this Judgment or preclude the Effective Date of

the Settlement from occurring or provide any Settling Party with any basis to terminate the

Settlement.



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       20.     The Plan of Allocation submitted by Lead Counsel, as described in the Notice, is

hereby approved as fair, reasonable and adequate. The approval of the Plan of Allocation, and any

order or proceeding relating thereto, shall not disturb or affect any of the other terms of this

Judgment. Any appeal of or challenge to, or reversal or modification of, the approval of the Plan

of Allocation, and any order or proceeding relating thereto, shall in no way disturb or affect the

finality of the other terms of this Judgment or preclude the Effective Date of the Settlement from

occurring or provide any Settling Party with any basis to terminate the Settlement.

       21.     In the event that the Effective Date of the Settlement does not occur or the

Settlement is terminated pursuant to its terms, then this Judgment shall be rendered null and void

to the extent provided by and in accordance with the Stipulation, and shall be vacated to the extent

provided by the Stipulation and, in such event: (a) all orders entered and releases delivered in

connection herewith shall be null and void to the extent provided by and in accordance with the

Stipulation; and (b) the fact of the Settlement shall not be admissible in any trial of this Action

and the Settling Parties shall be deemed to have reverted to their respective status in this Action

immediately prior to April 6, 2021; and (c) any portion of the Settlement Amount previously paid

into the Escrow Account, including, but not limited to, any funds disbursed in payment of

attorneys’ fees and Litigation Expenses, plus interest thereon at the same rate as would have been

earned had those funds remained in the Escrow Account, less any amounts for Taxes paid or

owing with respect to interest income and/or gains on the Settlement Amount and/or for Notice

and Administration Costs actually incurred and paid or payable, shall be returned by Lead Counsel

and/or the Escrow Agent to Defendants within fourteen (14) business days after written

notification of such event by Defendants’ Counsel to Lead Counsel, all as specified in paragraph

48 of the Stipulation.
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       22.     Without further order of the Court, the Settling Parties may agree to reasonable

extensions of time or other reasonable modifications necessary to carry out any of the provisions

of the Settlement.

       23.     There is no just reason for delay in the entry of this Judgment and immediate entry

by the Clerk of the Court is expressly directed.



    IT IS SO ORDERED.


    DATED: November 21, 2022


                                              _________________________________
                                              THE HONORABLE GREGORY H. WOODS
                                              UNITED STATES DISTRICT JUDGE




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                                    Exhibit 1



None.




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